Dina L. Anderson
21001 N. Tatum Blvd
#1630-608
Phoenix, AZ 85050

                                          UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF ARIZONA


In re:                                                                 §      Case No. 2:18-BK-12356-BKM
                                                                       §
DAVID L. LONG                                                          §
                                                                       §
                                                                       §
                            Debtor                                     §

                                               TRUSTEE’S FINAL REPORT (TFR)

The undersigned trustee hereby makes this Final Report and states as follows:

     1. A petition under chapter 7 of the United States Bankruptcy Code was filed on 10/10/2018. The
        undersigned trustee was appointed on 10/10/2018.

     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. § 704.

     3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor
        as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to
        11 U.S.C. § 554. An individual estate property record and report showing the disposition of all
        property of the estate is attached as Exhibit A.

      4.         The trustee realized gross receipts of                                                                              $2,588.54

                          Funds were disbursed in the following amounts:

                         Payments made under an interim distribution                                                                      $0.00
                         Administrative expenses                                                                                        $414.66
                         Bank service fees                                                                                                $0.00
                         Other Payments to creditors                                                                                      $0.00
                         Non-estate funds paid to 3rd Parties                                                                            $82.63
                         Exemptions paid to the debtor                                                                                    $0.00
                         Other payments to the debtor                                                                                     $0.00

                         Leaving a balance on hand of 1                                                                              $2,091.25

           The remaining funds are available for distribution.
1
  The balance on funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursements will be distributed
pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth
under 11 U.S.C. § 326(a) on account of the disbursement of the additional interest.

UST Form 101-7-TFR (5/1/2011)

    Case 2:18-bk-12356-BKM                        Doc 30          Filed 10/29/19               Entered 10/29/19 10:03:22                        Desc
                                                                   Page 1 of 12
     5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

     6. The deadline for filing non-governmental claims in this case was 07/11/2019 and the deadline
        for filing government claims was 07/11/2019. All claims of each class which will receive a
        distribution have been examined and any objections to the allowance of claims have been
        resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
        made, is attached as Exhibit C.

     7. The Trustee’s proposed distribution is attached as Exhibit D.

     8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $626.48.
        To the extent that additional interest is earned before case closing, the maximum compensation
        may increase.

        The trustee has received $0.00 as interim compensation and now requests the sum of $626.48,
for a total compensation of $626.48 2. In addition, the trustee received reimbursement for reasonable
and necessary expenses in the amount of $0.00, and now requests reimbursement for expenses of
$86.61, for total expenses of $86.61.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.

Date: 10/11/2019                                                         By:       /s/ Dina L. Anderson
                                                                                   Trustee

STATEMENT: This Uniform form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




2
 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the Trustee’s Proposed
Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011)

    Case 2:18-bk-12356-BKM                        Doc 30          Filed 10/29/19               Entered 10/29/19 10:03:22                        Desc
                                                                   Page 2 of 12
                                                                                                                                               Page No:      1
                                                                          FORM 1
                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                      Exhibit A
                                                               ASSET CASES
Case No.:                     18-12356-BKM                                                      Trustee Name:                               Dina L. Anderson
Case Name:                    LONG, DAVID L.                                                    Date Filed (f) or Converted (c):            10/10/2018 (f)
For the Period Ending:        10/10/2019                                                        §341(a) Meeting Date:                       11/15/2018
                                                                                                Claims Bar Date:                            07/11/2019

                         1                              2                      3                         4                         5                         6

                 Asset Description                    Petition/        Estimated Net Value            Property               Sales/Funds              Asset Fully
                  (Scheduled and                    Unscheduled       (Value Determined by            Abandoned             Received by the        Administered (FA) /
             Unscheduled (u) Property)                 Value                 Trustee,           OA =§ 554(a) abandon.           Estate               Gross Value of
                                                                     Less Liens, Exemptions,                                                        Remaining Assets
                                                                        and Other Costs)

 Ref. #
1       16 N Range 7 W La Crosse, WI                   Unknown                      $1,860.00                                          $1,860.00                    FA
        - 54601-0000 La Crosse
        County Raw land, owner of an
        1/8 interest of land.
 Asset Notes:      Sold at auction 05/10/19
2        Sofas, Televisions,                             $675.00                        $0.00                                              $0.00                    FA
         Entertainment Center, DVD
         Player, Personal Computer,
         DIshes/Flateware, pots/pans,
         Bed, dresser, nightstand
3        Taurus 9MM G2                                   $200.00                        $0.00                                              $0.00                    FA
4        1 Adult                                         $200.00                        $0.00                                              $0.00                    FA
5        1 cat                                              $50.00                      $0.00                                              $0.00                    FA
6        Checking - 8092 Capital One                        $25.00                      $0.00                                              $0.00                    FA
7        Savings - 2823 Capital One                         $40.00                      $0.04                                              $0.00                    FA
8        Checking - 4094 ADP Aline                           $4.00                     $25.29                                            $25.29                     FA
9        Non Exempt Wages                     (u)           $56.00                     $56.00                                            $56.00                     FA
10       2018 Federal Tax Refund              (u)        $728.54                      $564.62                                           $647.25                     FA


TOTALS (Excluding unknown value)                                                                                                        Gross Value of Remaining Assets
                                                       $1,978.54                    $2,505.95                                          $2,588.54                 $0.00




     Major Activities affecting case closing:
      10/11/2019      TFR submitted to USTO on 10/11/19
                      * GMA employed; GMA to be paid via TFR


 Initial Projected Date Of Final Report (TFR):         05/15/2020                                                 /s/ DINA L. ANDERSON
 Current Projected Date Of Final Report (TFR):         05/15/2020                                                 DINA L. ANDERSON




                 Case 2:18-bk-12356-BKM                  Doc 30          Filed 10/29/19           Entered 10/29/19 10:03:22                        Desc
                                                                          Page 3 of 12
                                                                                                                                                                        Page No: 1                 Exhibit B
                                                                                             FORM 2
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          18-12356-BKM                                                                                       Trustee Name:                            Dina L. Anderson
 Case Name:                        LONG, DAVID L.                                                                                     Bank Name:                               Independent Bank
Primary Taxpayer ID #:             **-***0991                                                                                         Checking Acct #:                         ******2356
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:
For Period Beginning:              10/10/2018                                                                                         Blanket bond (per case limit):           $27,456,481.00
For Period Ending:                 10/10/2019                                                                                         Separate bond (if applicable):

       1                2                                3                                         4                                                          5                      6                    7

   Transaction       Check /                          Paid to/             Description of Transaction                                  Uniform           Deposit             Disbursement               Balance
      Date            Ref. #                       Received From                                                                      Tran Code            $                      $


06/07/2019            (1)      Cunningham & Associates, Inc.       Auction Sale Proceeds                                               1110-000             $1,860.00                                         $1,860.00
06/11/2019           1001      Cunningham & Associates, Inc.       Auctioneer fees per Order signed 06/07/19                           3610-000                                          $186.00            $1,674.00
06/11/2019           1002      Cunningham & Associates, Inc.       Auctioneer expenses per Order signed 06/07/19                       3620-000                                          $228.66            $1,445.34
07/25/2019                     United States Treasury              2018 Federal Tax Refund; Nonexempt assets                               *                 $728.54                                        $2,173.88
                      {9}                                          Nonexempt wages                                         $56.00      1229-000                                                             $2,173.88
                      {8}                                          Nonexempt bank funds                                    $25.29      1129-000                                                             $2,173.88
                      {10}                                         2018 Federal Tax Refund                                $647.25      1224-000                                                             $2,173.88
07/30/2019           1003      DAVID LONG                          Debtor's pro rata share of 2018 Federal tax refund                  8500-002                                           $82.63            $2,091.25

                                                                                      TOTALS:                                                               $2,588.54                    $497.29            $2,091.25
                                                                                          Less: Bank transfers/CDs                                              $0.00                      $0.00
                                                                                      Subtotal                                                              $2,588.54                    $497.29
                                                                                          Less: Payments to debtors                                             $0.00                      $0.00
                                                                                      Net                                                                   $2,588.54                    $497.29



                     For the period of 10/10/2018 to 10/10/2019                                                    For the entire history of the account between 06/07/2019 to 10/10/2019

                     Total Compensable Receipts:                     $2,588.54                                     Total Compensable Receipts:                                       $2,588.54
                     Total Non-Compensable Receipts:                     $0.00                                     Total Non-Compensable Receipts:                                       $0.00
                     Total Comp/Non Comp Receipts:                   $2,588.54                                     Total Comp/Non Comp Receipts:                                     $2,588.54
                     Total Internal/Transfer Receipts:                   $0.00                                     Total Internal/Transfer Receipts:                                     $0.00


                     Total Compensable Disbursements:                  $414.66                                     Total Compensable Disbursements:                                   $414.66
                     Total Non-Compensable Disbursements:               $82.63                                     Total Non-Compensable Disbursements:                                $82.63
                     Total Comp/Non Comp Disbursements:                $497.29                                     Total Comp/Non Comp Disbursements:                                 $497.29
                     Total Internal/Transfer Disbursements:              $0.00                                     Total Internal/Transfer Disbursements:                               $0.00




                                        Case 2:18-bk-12356-BKM         Doc 30          Filed 10/29/19              Entered 10/29/19 10:03:22                       Desc
                                                                                        Page 4 of 12
                                                                                                                                                        Page No: 2                 Exhibit B
                                                                                        FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         18-12356-BKM                                                                          Trustee Name:                           Dina L. Anderson
Case Name:                       LONG, DAVID L.                                                                        Bank Name:                              Independent Bank
Primary Taxpayer ID #:           **-***0991                                                                            Checking Acct #:                        ******2356
Co-Debtor Taxpayer ID #:                                                                                               Account Title:
For Period Beginning:            10/10/2018                                                                            Blanket bond (per case limit):          $27,456,481.00
For Period Ending:               10/10/2019                                                                            Separate bond (if applicable):

      1                 2                                3                                     4                                             5                       6                    7

  Transaction        Check /                         Paid to/          Description of Transaction                       Uniform           Deposit            Disbursement               Balance
     Date             Ref. #                      Received From                                                        Tran Code            $                     $




                                                                                                                                                                          NET             ACCOUNT
                                                                                 TOTAL - ALL ACCOUNTS                           NET DEPOSITS                         DISBURSE            BALANCES

                                                                                                                                          $2,588.54                      $497.29            $2,091.25




                     For the period of 10/10/2018 to 10/10/2019                                     For the entire history of the case between 10/10/2018 to 10/10/2019

                     Total Compensable Receipts:                   $2,588.54                        Total Compensable Receipts:                                      $2,588.54
                     Total Non-Compensable Receipts:                   $0.00                        Total Non-Compensable Receipts:                                      $0.00
                     Total Comp/Non Comp Receipts:                 $2,588.54                        Total Comp/Non Comp Receipts:                                    $2,588.54
                     Total Internal/Transfer Receipts:                 $0.00                        Total Internal/Transfer Receipts:                                    $0.00


                     Total Compensable Disbursements:               $414.66                         Total Compensable Disbursements:                                     $414.66
                     Total Non-Compensable Disbursements:            $82.63                         Total Non-Compensable Disbursements:                                  $82.63
                     Total Comp/Non Comp Disbursements:             $497.29                         Total Comp/Non Comp Disbursements:                                   $497.29
                     Total Internal/Transfer Disbursements:           $0.00                         Total Internal/Transfer Disbursements:                                 $0.00




                                                                                                                    /s/ DINA L. ANDERSON
                                                                                                                    DINA L. ANDERSON




                                      Case 2:18-bk-12356-BKM         Doc 30        Filed 10/29/19   Entered 10/29/19 10:03:22                       Desc
                                                                                    Page 5 of 12
                                                                                       CLAIM ANALYSIS REPORT                                          Page No: 1                 Exhibit C


 Case No.                      18-12356-BKM                                                                                        Trustee Name:              Dina L. Anderson
 Case Name:                    LONG, DAVID L.                                                                                      Date:                      10/10/2019
 Claims Bar Date:              07/11/2019

Claim               Creditor Name          Claim           Claim Class        Claim      Uniform    Scheduled       Claim       Amount        Amount           Interest          Tax            Net
No.:                                       Date                              Status     Tran Code   Amount         Amount       Allowed        Paid                                          Remaining
                                                                                                                                                                                              Balance

        CUNNINGHAM &                     06/07/2019   Other Professional     Allowed     3610-000        $0.00       $186.00      $186.00          $186.00          $0.00           $0.00         $0.00
        ASSOCIATES, INC.                              Fees
        P.O. Box 67087
        Phoenix AZ 85082-7087
        CUNNINGHAM &                     06/07/2019   Other Professional     Allowed     3620-000        $0.00       $228.66      $228.66          $228.66          $0.00           $0.00         $0.00
        ASSOCIATES, INC.                              Expenses
        P.O. Box 67087
        Phoenix AZ 85082-7087
        DINA L. ANDERSON                 04/09/2019   Trustee Expenses       Allowed     2200-000        $0.00        $86.61       $86.61            $0.00          $0.00           $0.00        $86.61
        21001 N. Tatum Blvd
        #1630-608
        Phoenix AZ 85050
        GUTTILLA MURPHY                  09/10/2019   Attorney for Trustee   Allowed     3110-000        $0.00      $4,000.00    $4,000.00           $0.00          $0.00           $0.00     $4,000.00
        ANDERSON, P.C.                                Fees (Trustee Firm)
        5415 E. High Street, Suite 200
        Phoenix AZ 85054
        GUTTILLA MURPHY                  09/10/2019   Attorney for Trustee   Allowed     3120-000        $0.00       $140.12      $140.12            $0.00          $0.00           $0.00       $140.12
        ANDERSON, P.C.                                Expenses (Trustee
                                                      Firm)
        5415 E. High Street, Suite 200
        Phoenix AZ 85054
        DINA L. ANDERSON                 10/10/2019   Trustee                Allowed     2100-000        $0.00       $626.48      $626.48            $0.00          $0.00           $0.00       $626.48
                                                      Compensation
        21001 N. Tatum Blvd
        #1630-608
        Phoenix AZ 85050
    1   LVNV FUNDING, LLC                04/15/2019   General Unsecured      Allowed     7100-000      $752.35      $1,828.79    $1,828.79           $0.00          $0.00           $0.00     $1,828.79
                                                      726(a)(2)
        Resurgent Capital Services
        PO Box 10587
        Greenville SC 29603-0587




                                     Case 2:18-bk-12356-BKM                   Doc 30      Filed 10/29/19         Entered 10/29/19 10:03:22             Desc
                                                                                           Page 6 of 12
                                                                                    CLAIM ANALYSIS REPORT                                           Page No: 2                 Exhibit C


  Case No.                       18-12356-BKM                                                                                    Trustee Name:              Dina L. Anderson
  Case Name:                     LONG, DAVID L.                                                                                  Date:                      10/10/2019
  Claims Bar Date:               07/11/2019

 Claim               Creditor Name         Claim           Claim Class     Claim      Uniform    Scheduled        Claim       Amount        Amount           Interest          Tax            Net
  No.:                                     Date                           Status     Tran Code   Amount          Amount       Allowed        Paid                                          Remaining
                                                                                                                                                                                            Balance

      2   SRP                            04/16/2019   General Unsecured   Allowed     7100-000      $367.47        $402.06      $402.06          $0.00            $0.00           $0.00       $402.06
                                                      726(a)(2)
         Customer Credit Serv. ISB232
         PO Box 52025
         Phoenix AZ 85072-2025
Claim Notes: Electric Utility
      3   NAVIENT SOLUTIONS,             05/15/2019   General Unsecured   Allowed     7100-000     $8,967.00     $26,819.34   $26,819.34         $0.00            $0.00           $0.00    $26,819.34
          LLC. ON BEHALF OF:                          726(a)(2)
          THE DEPARTMENT OF
          EDUCATION
          Navient - U.S. Department of
          Education Loan Servicing
          PO Box 4450
          Portland OR 97208-4450
      4   MIDLAND FUNDING                06/20/2019   General Unsecured   Allowed     7100-000      $503.00        $502.59      $502.59          $0.00            $0.00           $0.00       $502.59
          LLC                                         726(a)(2)
          Midland Credit Management, Inc.
          as agent for MIDLAND
          FUNDING LLC
          PO Box 2011
          Warren MI 48090
      5   LVNV FUNDING, LLC              07/05/2019   General Unsecured   Allowed     7100-000        $0.00        $933.15      $933.15          $0.00            $0.00           $0.00       $933.15
                                                      726(a)(2)
           Resurgent Capital Services
           PO Box 10587
           Greenville SC 29603-0587
      6   PYOD, LLC                      07/08/2019   General Unsecured   Allowed     7100-000      $396.44        $783.68      $783.68          $0.00            $0.00           $0.00       $783.68
                                                      726(a)(2)
           Resurgent Capital Services
           PO Box 19008
           Greenville SC 29602
      7   PORTFOLIO RECOVERY             07/10/2019   General Unsecured   Allowed     7100-000      $725.00        $690.02      $690.02          $0.00            $0.00           $0.00       $690.02
          ASSOCIATES, LLC                             726(a)(2)
           POB 12914
           Norfolk VA 23541


                                        Case 2:18-bk-12356-BKM             Doc 30      Filed 10/29/19          Entered 10/29/19 10:03:22             Desc
                                                                                        Page 7 of 12
                                                                                 CLAIM ANALYSIS REPORT                                          Page No: 3                 Exhibit C


 Case No.                      18-12356-BKM                                                                                  Trustee Name:              Dina L. Anderson
 Case Name:                    LONG, DAVID L.                                                                                Date:                      10/10/2019
 Claims Bar Date:              07/11/2019

Claim               Creditor Name       Claim           Claim Class     Claim      Uniform    Scheduled       Claim       Amount        Amount           Interest          Tax            Net
No.:                                     Date                          Status     Tran Code   Amount         Amount       Allowed        Paid                                          Remaining
                                                                                                                                                                                        Balance

    8   PORTFOLIO RECOVERY            07/10/2019   General Unsecured   Allowed     7100-000      $454.00       $453.80      $453.80            $0.00          $0.00           $0.00       $453.80
        ASSOCIATES, LLC                            726(a)(2)
         POB 12914
         Norfolk VA 23541
    9   FEDERATED                     07/11/2019   General Unsecured   Allowed     7100-000      $381.58       $381.58      $381.58            $0.00          $0.00           $0.00       $381.58
        DEPARTMENT STORES                          726(a)(2)
        INC
         c/o Quantum3 Group LLC
         PO Box 657
         Kirkland WA 98083-0657
                                                                                                             $38,062.88   $38,062.88         $414.66          $0.00          $0.00     $37,648.22




                                    Case 2:18-bk-12356-BKM              Doc 30      Filed 10/29/19         Entered 10/29/19 10:03:22             Desc
                                                                                     Page 8 of 12
                                                                  CLAIM ANALYSIS REPORT                                                Page No: 4                 Exhibit C


Case No.                      18-12356-BKM                                                                         Trustee Name:               Dina L. Anderson
Case Name:                    LONG, DAVID L.                                                                       Date:                       10/10/2019
Claims Bar Date:              07/11/2019


      CLAIM CLASS SUMMARY TOTALS

                                           Claim Class                 Claim        Amount         Amount                   Interest                Tax                  Net
                                                                       Amount       Allowed         Paid                                                              Remaining
                                                                                                                                                                       Balance


           Attorney for Trustee Expenses (Trustee Firm)                  $140.12         $140.12           $0.00                   $0.00               $0.00                  $140.12

           Attorney for Trustee Fees (Trustee Firm)                     $4,000.00    $4,000.00             $0.00                   $0.00               $0.00              $4,000.00

           General Unsecured 726(a)(2)                                 $32,795.01   $32,795.01             $0.00                   $0.00               $0.00             $32,795.01

           Other Professional Expenses                                   $228.66         $228.66      $228.66                      $0.00               $0.00                    $0.00

           Other Professional Fees                                       $186.00         $186.00      $186.00                      $0.00               $0.00                    $0.00

           Trustee Compensation                                          $626.48         $626.48           $0.00                   $0.00               $0.00                  $626.48

           Trustee Expenses                                               $86.61          $86.61           $0.00                   $0.00               $0.00                   $86.61




                                     Case 2:18-bk-12356-BKM   Doc 30    Filed 10/29/19     Entered 10/29/19 10:03:22                    Desc
                                                                         Page 9 of 12
                                                                                               Exhibit D
                                 TRUSTEE’S PROPOSED DISTRIBUTION

 Case No.:           2:18-BK-12356-BKM
 Case Name:          DAVID L. LONG
 Trustee Name:       Dina L. Anderson

                                                                Balance on hand:                    $2,091.25


          Claims of secured creditors will be paid as follows: NONE



                                            Total to be paid to secured creditors:                      $0.00
                                                             Remaining balance:                     $2,091.25

          Applications for chapter 7 fees and administrative expenses have been filed as follows:

 Reason/Applicant                                                   Total          Interim           Proposed
                                                                Requested       Payments to          Payment
                                                                                      Date
 Dina L. Anderson, Trustee Fees                                    $626.48             $0.00            $626.48
 Dina L. Anderson, Trustee Expenses                                 $86.61             $0.00               $86.61
 Guttilla Murphy Anderson, P.C., Attorney for                    $4,000.00             $0.00         $1,238.04
 Trustee Fees
 Guttilla Murphy Anderson, P.C., Attorney for                      $140.12             $0.00            $140.12
 Trustee Expenses
 Cunningham & Associates, Inc., Auctioneer for                     $186.00           $186.00                $0.00
 Trustee Fees
 Cunningham & Associates, Inc., Auctioneer for                     $228.66           $228.66                $0.00
 Trustee Expenses


                           Total to be paid for chapter 7 administrative expenses:                  $2,091.25
                                                              Remaining balance:                        $0.00

          Applications for prior chapter fees and administrative expenses have been filed as follows:
 NONE



                        Total to be paid to prior chapter administrative expenses:                         $0.00
                                                              Remaining balance:                           $0.00

          In addition to the expenses of administration listed above as may be allowed by the Court,
 priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.



 UST Form 101-7-TFR (5/1/2011)
Case 2:18-bk-12356-BKM              Doc 30      Filed 10/29/19 Entered 10/29/19 10:03:22                   Desc
                                                 Page 10 of 12
          Allowed priority claims are: NONE



                                                  Total to be paid to priority claims:                 $0.00
                                                                 Remaining balance:                    $0.00

         The actual distribution to wage claimants included above, if any, will be the proposed payment
 less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

         Timely claims of general (unsecured) creditors totaling $32,795.01 have been allowed and will be
 paid pro rata only after all allowed administrative and priority claims have been paid in full. The timely
 allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if applicable).

          Timely allowed general (unsecured) claims are as follows:

 Claim No. Claimant                                             Allowed Amt.           Interim      Proposed
                                                                     of Claim       Payments to      Amount
                                                                                          Date
            1 LVNV Funding, LLC                                      $1,828.79            $0.00         $0.00
            2 SRP                                                      $402.06            $0.00         $0.00
            3 Navient Solutions, LLC. on behalf of:                $26,819.34             $0.00         $0.00
              The Department of Education
            4 Midland Funding LLC                                      $502.59            $0.00         $0.00
            5 LVNV Funding, LLC                                        $933.15            $0.00         $0.00
            6 PYOD, LLC                                                $783.68            $0.00         $0.00
            7 Portfolio Recovery Associates, LLC                       $690.02            $0.00         $0.00
            8 Portfolio Recovery Associates, LLC                       $453.80            $0.00         $0.00
            9 Federated Department Stores Inc                          $381.58            $0.00         $0.00


                                 Total to be paid to timely general unsecured claims:                  $0.00
                                                                 Remaining balance:                    $0.00

         Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
 paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
 have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
 applicable).

          Tardily filed general (unsecured) claims are as follows: NONE



                        Total to be paid to tardily filed general unsecured claims:                    $0.00
                                                               Remaining balance:                      $0.00




 UST Form 101-7-TFR (5/1/2011)
Case 2:18-bk-12356-BKM                  Doc 30      Filed 10/29/19 Entered 10/29/19 10:03:22           Desc
                                                     Page 11 of 12
         Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
 subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
 allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
 subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

         Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
 subordinated by the Court are as follows: NONE



                                     Total to be paid for subordinated claims:                       $0.00
                                                           Remaining balance:                        $0.00




 UST Form 101-7-TFR (5/1/2011)
Case 2:18-bk-12356-BKM           Doc 30      Filed 10/29/19 Entered 10/29/19 10:03:22               Desc
                                              Page 12 of 12
